EMILY J. PRATT AND CHARLOTTE W. CADWALADER, EXECUTRICES OF THE LAST WILL AND TESTAMENT OF JOSEPHINE K. WILSON, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Pratt v. CommissionerDocket No. 25729.United States Board of Tax Appeals18 B.T.A. 377; 1929 BTA LEXIS 2066; November 29, 1929, Promulgated *2066  Transfers held not to have been made in contemplation of death.  Orville C. Pratt, Jr., Esq., and Marvin C. Hix, Esq., for the petitioners.  Frank T. Horner, Esq., for the respondent.  VAN FOSSAN *377  In this proceeding redetermination is asked of a deficiency in estate taxes in the amount of $2,977.82, the respondent having found that certain transfers of stocks were made in contemplation of death.  FINDINGS OF FACT.  The decedent, Josephine K. Wilson, died January 5, 1925.  Petitioners are the duly appointed, qualified, and acting executrices.  At the time of her death Josephine K. Wilson was approximately 75 years of age.  She was a woman of large financial means and for about ten years before her death had been making regular allowances to her two daughters, Emily J. Pratt and Charlotte W. Cadwalader.  Mrs. Pratt was not in need of financial assistance but Mrs. Cadwalader was entirely dependent on her mother, with whom she lived.  These allowances amounted to $5,000 to $5,500 annually.  Mrs. Wilson's gross annual income was about $50,000 and the average net income about $37,000.  She was much disturbed and incensed by the large*2067  income taxes she was required to [*] and in 1921 discussed with her nephew, who was preparing her return *378  for 1920, the matter of making some arrangement whereby she might decrease these taxes.  She was then advised to divide her property into three parts and give one-third to each daughter, retaining one-third herself.  The nephew consulted a lawyer in reference to the matter, who advised that the plan would be ineffective unless the income from the property also went direct to the daughters.  Mrs. Wilson desired to retain all of the income and did not adopt the suggestion.  Early in 1924 decedent, who had often adverted to the subject of reducing taxes, was advised to transfer to the two daughters a sufficient amount of stock to represent in income the amount annually paid them as allowances.  At this time Mrs. Wilson had an indebtedness of $43,840 at a bank in San Francisco secured by the pledge of certain stock.  In June, 1924, decedent again complained about the amount of her taxes and stated her intention to transfer to the daughters all of the stock pledged on the condition the daughters assume the loan and certain other stocks sufficient to cover the allowances*2068  and to give the daughters, in addition, an amount equal to the saving in tax.  On July 25, 1924, the necessary arrangements with the bank for the new loan having been made, the stocks were transferred to the daughters and the loan assumed by them.  On various and numerous occasions decedent told the daughters, her nephew and her lawyer that her reason for making the transfer was to reduce the taxes payable on the income from the stocks.  At no time did she ever mention the subject of her death to any of these parties or to her physician.  The deceased was a women of extraordinary vitality, very active in social matters in San Francisco, and attended dinners, teas and the theater frequently.  She had been for some years a sufferer from chronic nephritis of moderate type, from myocarditis and from Paget's disease.  The services of a physician were frequently required to correct indispositions principally brought on by overtaxing her strength or indigestion.  The daughters kept in close touch with the physician and arranged for frequent professional visits, largely as a preventative measure.  In 1922 the nephritic condition became acute, but decedent regained her normal health during*2069  the year.  In most of 1924 she was in much better health than in 1922 or 1923.  In December, 1924, the physician was in practically daily attendance.  In 1924 decedent talked of and planned a trip to Europe and actually made various other trips by automobile, one of these being a distance of 360 miles.  She was carrying on her usual social activities, staying out late at night and was more active during this year than in previous years.  She was of a buoyant nature, in excellent spirits and unusually cheerful.  *379  The immediate cause of decedent's death was pneumonia contracted a few days before her death on January 5, 1925.  Contributing causes were nephritis, myocarditis, and Paget's disease.  The parties stipulated that the securities were valued at $178,033.75, against which an indebtedness of $43,840 was written off, leaving a net amount of $134,163.75 as the value of the securities in the gross estate determined by respondent.  OPINION.  VAN FOSSAN: Under the facts detailed above we come without difficulty to the conclusion that the transfer of stocks by petitioners' decedent to her daughters was motivated solely by her determination to reduce the amount of*2070  her income taxes and not by any thought of impending death.  The mere fact that disease in a more or less serious form may be present is not enough to justify a finding that a transfer of property is made in contemplation of death.  We must inquire as best we may into the mind of the deceased and determine the dominating or controlling impulse.  Here there is no doubt on this score.  Credible witnesses have pictured the mental processes of decedent that led to the transfer.  The transfers were not made in contemplation of death.  Decision will be entered under Rule 50.